 Case 1:21-cv-00557-CJB Document 25 Filed 04/29/22 Page 1 of 3 PageID #: 355




                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 SMART PACKAGING SOLUTIONS SA,                     )
                                                   )
                 Plaintiff,                        )
                                                   )
         v.                                        ) C.A. No. 21-557-CJB
                                                   )
 PERFECT PLASTIC PRINTING CORP.,                   )
                                                   )
                 Defendant.                        )


                              STIPULATION TO STAY LITIGATION

        WHEREAS, on November 24, 2021, January 10, 2022, and February 28, 2022, three

separate Inter Partes Review (“IPR”) petitions were filed challenging all asserted claims of three

of the four asserted patents in this litigation;

        WHEREAS, Defendant expects that an IPR challenging all asserted claims of the fourth

patent-in-suit will be filed shortly hereafter;

        WHEREAS, the Patent Trial & Appeal Board (“PTAB”) has not yet decided

whether to institute the IPR petitions;

        WHEREAS, Defendant has asked Plaintiff to: (1) stipulate to staying this litigation at least

pending the PTAB’s institution decisions; and (2) stipulate to staying this litigation through final

resolution of any instituted IPR petition;

        WHEREAS, the parties have agreed that: (1) due to judicial economy, they will file this

joint stipulation seeking to stay the litigation pending at least the PTAB’s institution decisions;

and (2) if the PTAB institutes none of the IPRs, any stay shall be lifted and the litigation will

resume; and
 Case 1:21-cv-00557-CJB Document 25 Filed 04/29/22 Page 2 of 3 PageID #: 356




        WHEREAS, the parties have further agreed that if all of the IPR petitions are instituted by

the PTAB, the stay should continue until the PTAB has issued a final written decision on each

IPR, and that if not all of the IPR petitions are instituted, the parties shall meet-and-confer

regarding the scope of the stay and determine how best to proceed with respect to the non-instituted

IPRs;

        THE PARTIES HEREBY STIPULATE AND AGREE, subject to the approval of the

Court, that:

        1)       the litigation is stayed pending at least a decision by the PTAB on institution of the

IPR petitions;

        2)       if none of the IPR petitions are instituted by the PTAB, the stay shall then be lifted

and the litigation will resume;

        3)       if all of the IPR petitions are instituted by the PTAB, the litigation is stayed pending

final disposition, including the completion of any appeals, of the IPRs;

        4)       if some but not all of the IPR petitions are instituted by the PTAB, the parties shall

file a joint status report within seven (7) calendar days of the final institution decision setting forth

their joint or competing proposal(s) for resuming this litigation with respect to the patents

challenged in any non-instituted IPRs; and

        5)       if the stay continues past the institution decisions by the PTAB, and if any asserted

claims survive the final written decisions issued by the PTAB in the IPRs, the parties shall file a

joint status report within seven (7) calendar days setting forth their joint or competing proposal(s)

for resuming this litigation.
 Case 1:21-cv-00557-CJB Document 25 Filed 04/29/22 Page 3 of 3 PageID #: 357




/s/ Philip A. Rovner                          /s/ Andrew E. Russell
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Dated: April 29, 2022



SO ORDERED this ___ day of __________, 2022


                                                 ______________________________
                                                 Honorable Christopher J. Burke
                                                 United States Magistrate Judge
